                          IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE


  JODI HELBERT,                                      )
                                                     )
                              Plaintiff,             )
                                                     )
  v.                                                 )               No. 2:14-cv-00100
                                                     )
  UHS OF DELAWARE, INC. and                          )
  KEYSTONE CONTINUUM,                                )
  individually, and d/b/a MOUNTAIN                   )
  YOUTH ACADEMY,                                     )
                                                     )
                              Defendants.            )


                                           STIPULATION OF DISMISSAL


           COME the parties, Plaintiff Jodi Helbert (“Plaintiff”) and Defendants UHS of Delaware,

  Inc. and Keystone Continuum, individually, and d/b/a Mountain Youth Academy

  ("Defendants"), by and through their respective counsel, and stipulate to the Court that all

  matters in controversy between them have been resolved and that this matter should be dismissed

  with prejudice. The parties shall bear their own discretionary costs, fees and expenses.

           Respectfully submitted this 16th day of August, 2016.



                                                 s/ Jennifer P. Keller
                                                 Jennifer P. Keller, BPR No. 018062
                                                 Matthew D. Davison, BPR No. 020049
                                                 BAKER, DONELSON, BEARMAN,
                                                  CALDWELL & BERKOWITZ, P.C.
                                                 100 Med Tech Parkway, Suite 200
                                                 Johnson City, Tennessee 37604
                                                 Phone: (423) 928-0181
                                                 Fax: (423) 928-5694
                                                 jkeller@bakerdonelson.com
                                                 mdavison@bakerdonelson.com

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                                          Attorneys for UHS of Delaware, Inc. and
                                          Keystone Continuum, individually, d/b/a Mountain
                                          Youth Academy


                                          s/ Charlton R. DeVault, Jr.
                                          Charlton R. DeVault, Jr., BPR No. 000428
                                          102 Broad Street
                                          Kingsport, TN 37660-4202
                                          Phone: 423-246-3601
                                          crdevault@charter.net

                                          Attorney for Jodi Helbert


                                 CERTIFICATE OF SERVICE

          I hereby certify that on August 16, 2016, a copy of the foregoing document was filed
  electronically. Notice of this filing will be sent by operation of the Court's electronic filing
  system to all parties indicated on the electronic filing receipt

                                         s/ Jennifer P. Keller
                                         Attorney




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